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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,
        v.
                                                    Criminal Action No. 23-91-2 (CKK)
 JIN GUANGHUA,
             Defendant.



                                             ORDER
                                          (June 4, 2025)

       The Court is in receipt of Defendant Jin Guanghua’s [85] Motion for Hearing regarding

the pending motions in this case. The Court is in the process of reviewing those motions. Herein,

the Court requests additional information to assist in its disposition of some of those motions.

Should the Court determine that a hearing is necessary to resolve any other motions, the Court

shall schedule that hearing in due course. For now, it is hereby:

       ORDERED that Mr. Jin’s [85] Motion for Hearing is DENIED without prejudice;

       ORDERED that, to assist the Court in resolving Mr. Jin’s [44] Motion to Dismiss for

Violation of Sixth Amendment Speedy Trial Rights, the Government shall file on or before

JUNE 11, 2025, affidavits or exhibits substantiating its factual representations in the numbered

list spanning pages 2 and 3 of its [67] Memorandum in Opposition;

       ORDERED that, to assist the Court in resolving Mr. Jin’s [45] Motion to Dismiss Count

One, each party may file a brief supplement, no greater than 3 pages in length, on or before

JUNE 10, 2025, addressing the effect of the Supreme Court’s recent ruling in Kousisis v. United

States, 145 S. Ct. 1382 (2025), on the parties’ discussions of Ciminelli v. United States, 598 U.S.

306 (2023); and further



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       ORDERED that the Government shall respond to Mr. Jin’s [84] Motion for Disclosure of

Translated Documents on or before JUNE 6, 2025.

       SO ORDERED.

Dated: June 4, 2025.


                                                  COLLEEN KOLLAR-KOTELLY
                                                  United States District Judge




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